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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                            :

          v.                                       : CRIMINAL ACTION NO. PJM-00-424
                                                     CIVIL ACTION NO. PJM-08-2777
ROBERT HENRY DAVIS, #36428-037                     :

                                                   :


                                 MEMORANDUM OPINION

         Before the Court is a Motion for Relief from Judgment pursuant to Fed. R. Civ P. 60(b)(6)

filed pro se by Robert Henry Davis. The Motion shall be construed pursuant to 28 U.S.C. §2255, and

dismissed without prejudice by separate Order.

                                           Background

        Davis is serving a life sentence for conspiracy to distribute and possess with intent to distribute

five kilograms or more of cocaine in violation of 21 U.S.C. § 846 and possession with intent to

distribute five kilograms or more of cocaine base in violation of 21 U.S.C. § 846(a). The United States

Court of Appeals for the Fourth Circuit affirmed Davis’s conviction and sentence on appeal. See

United States v. Davis, 67 Fed Appx. 771 (4th Cir. 2003). The Supreme Court denied Davis’s petition

for certiorari.

        Davis subsequently filed a Motion to Vacate, Set Aside or Correct, which this Court denied.

The United States Court of Appeals for the Fourth Circuit denied a Certificate of Appealability and

dismissed Davis’s appeal of the denial.
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                                          Analysis

       Davis requests modification of his sentence based on extraordinary circumstances.1

Specifically, Davis contends that two prior Florida state drug convictions were improperly used to

enhance his sentence. Davis posits that he is “actually innocent” of violating the “§ 851 enhanced

penalty statute” because his Florida convictions were not controlled substance offenses. Paper No.

549.

        A Rule 60(b) motion “attacks, not the substance of the federal court’s resolution of a claim

on the merits, but some defect in the integrity of the federal habeas proceedings.” Gonzales v. Crosby,

545 U.S. 524, 532 (2005). In contrast, a motion that seeks to advance substantive claims qualifies

as a “second or successive habeas petition.” See id; see also United States v. Winestock, 340 F. 3d

200, 207 (4th Cir. 2003) (explaining that “a motion directly attacking the prisoner’s conviction or

sentence will usually amount to a successive application...”).

        The instant Rule 60(b) motion clearly challenge the validity of the underlying sentence and

is the equivalent of a second or successive §2255 petition. See Calderon v. Thompson, 523 U.S. 538,

554 (1998) (ruling the subject matter of the motion and not petitioner’s description determines its

status). As has been explained to Davis previously, filing a second or successive motion in federal

district court requires prior authorization from the Court of Appeals. See 28 U.S.C. §§2244(a) &

2255; In re Avery W. Vial, 115 F.3d 1192, 1197-98 (4th Cir. 1997). Rule 60(b) may not be used to

circumvent the rule requiring that successive § 2255 petitions first receive authorization from the

Court of Appeals. See id. Davis presents no evidence that he has obtained authorization to file a

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          Davis also challenged his sentencing enhancement under Fed R. Civ. P. 60(b)(4). See
Davis v. United States, Civil Action No. PJM-07-2458 (D. Md. 2007); Davis v. United States,
PJM-08-2776 (D. Md. 2008). Both cases were dismissed without prejudice for lack of
jurisdiction.

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second or successive §2255 motion. Accordingly, the Motion must be dismissed without prejudice

for lack of jurisdiction.

         Further, even were this claim properly considered under Rule 60(b)(6), it would be

unavailing. Fed. R. Civil P 60(b) provides in relevant part: “On motion and upon such terms as are

just, the court may relieve a party or a party's legal representative from a final judgment, order, or

proceeding for the following reasons: ...”(6) any other reason justifying relief from the operation of

the judgment.” Rule 60(b) (6) provides an extraordinary remedy granted only in exceptional

circumstances. See Reid v. Angelone, 369 F.3d 363, 370 (4th Cir.2004); Valero Terrestrial Corp. v.

Paige, 211 F.3d 112, 118 n. 2 (4th Cir.2000). Davis has not advanced any grounds justifying

extraordinary relief. Davis may seek redress by filing a Motion to Vacate, Set Aside or Vacate after

obtaining the requisite appellate pre-authorization.

                                           Conclusion

         For the reasons stated herein, the Motion shall be dismissed without prejudice by separate

Order.




                                                                      /s/
                                                                PETER J. MESSITTE
November 10, 2008                                         UNITED STATES DISTRICT JUDGE




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